R. T. GLASSELL, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Glassell v. CommissionerDocket No. 17160.United States Board of Tax Appeals15 B.T.A. 223; 1929 BTA LEXIS 2893; February 6, 1929, Promulgated *2893  The evidence is insufficient to show error in the Commissioner's determination.  C. M. Pasquier, Esq., for the petitioner.  T. M. Mather, Esq., for the respondent.  LITTLETON*223  The Commissioner determined a deficiency in income tax of $2,080.15 for the year 1920 and $76.41 for the year 1921.  *224  The petitioner contends the Commissioner erred in charging him in 1920 with the receipt of income from business in the amount of $3,469.27; profit from the sale of leases in the amount of $13,671.41 and rents and royalties in the amount of $1,537.19 and that for 1921 he was erroneously charged with profit from business in the amount of $1,349.25.  FINDINGS OF FACT.  The petitioner is a resident of Belcher, La.He filed income-tax returns for the years involved.  The 1920 return made by petitioner showed a loss of $1,393.69, and a report for the same year, made by an internal revenue inspector in the latter part of 1922, showed a slightly greater loss, $1,478.45.  About February, 1926, a deputy collector made an examination of petitioner's records and books of accounts for 1920 and 1921 and the amended returns made by him were accepted*2894  by the Commissioner as reflecting the true net income of the petitioner.  The Commissioner reduced deductible expenses claimed on account of farming operations for 1920 from $30,974.29 to $9,305.73.  It also appears from the evidence that petitioner deducted as 1920 expense amounts that should have been deducted in his 1919 return.  The Commissioner increased petitioner's profit from sale of oil leases in 1920 by the amount of promissory notes given in part payment for the leases, the petitioner having returned only the amount of money actually received in 1920 for such leases.  The petitioner received in rents and royalties $1,537.19 in 1920.  OPINION.  LITTLETON: The evidence is not sufficient to convince the Board that error was committed by the Commissioner in his determination of the tax liability of the petitioner for either of the years involved.  There is no evidence as to the character of the expenses or losses, amounting to $30,974.29, claimed to have been sustained by petitioner in his farming operations in 1920.  The fact that they were claimed by petitioner in his original return and favorably reported on by the internal revenue inspector, who first examined petitioner's*2895  books in 1922, does not establish that their allowance was justified.  It is the Commissioner's final determination with which we are concerned.  There is no evidence showing in detail or even generally their nature.  The Commissioner made his determination, which placed the burden on the petitioner of showing error and none has been shown in the matter.  The evidence indicates that petitioner in his return for 1920 in the matter of sale of oil leases included as profits therefrom only the *225  actual money or notes collected, although admitting other notes were received by him.  There is no evidence that such uncollected notes at the time of their receipt by petitioner were of a value less than their face.  Judgment will be entered for the respondent.